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Local AO 450 (rev. 5/10)




                                              United States District Court
                                                       District of North Dakota

   Rare Breed Triggers, LLC, a North Dakota Limited
   Liability Company,

   Plaintiff,                                                                JUDGMENT IN A CIVIL CASE


   vs.                                                                       Case No.       3:22-cv-85


   Merrick Garland, in his official capacity as
   Attorney General of the United States, et al.,

   Defendant.



              Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
              verdict.

              Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
              been rendered.

      ✔ Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.
              Stipulation. This action came before the court on motion of the parties. The issues have been resolved.

              Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

IT IS ORDERED AND ADJUDGED:
The United States’ motion to dismiss for improper venue under Federal Rule of Civil Procedure Rule 12(b)(3),
(Doc. 20), is GRANTED. In light of that decision, it is not necessary to consider the other grounds for dismissal
that the United States raises. Rare Breed’s motions for venue-related discovery and to stay the case pending that
discovery, (Doc. 28), are DENIED. Given the parties’ extensive briefing, Rare Breed’s motion for oral
argument, (Doc. 43), is DENIED. Rare Breed’s complaint is DISMISSED without prejudice.




      November 4, 2022
Date: __________________                                                      ROBERT J. ANSLEY, CLERK OF COURT
                                                                                 /s/ Sarah Cook, Deputy Clerk
                                                                             by:________________________________
